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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
UNITED STATES OF AMERICA

         v.                                                                   ORDER
                                                                              98-CR-1101
FELIX SATER,

                  Defendant.
---------------------------------------------------------x
GLASSER, Senior United States District Judge:

         A motion has been made by Frederick Oberlander to unseal the transcript of a conference

held on April 27, 2011, DE 225, and of the transcript of a conference held on January 10, 2012,

DE 230.

         The court has reviewed those transcripts, has reviewed and considered the responses of

the government and Felix Sater to those motions. More than seven years have elapsed since the

hearings were held that the requested transcripts record. During that time, this case, in all of its

iterations, has been one of extreme public interest. The reasons that justified the sealing of these

transcripts at the time do not persuade the court that they still do and lead to the conclusion that

the motions should be GRANTED and it is

         SO ORDERED.

Dated:           Brooklyn, New York
                 January 23, 2019                             _/s/___________________________
                                                              I. Leo Glasser
                                                              Senior United States District Judge
